                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE


TRANSFORMATIONS, INC.,                       )
a Tennessee corporation,                     )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )      No. 3:05-0052
                                             )
EATON CORPORATION,                           )      JUDGE ROBERT L. ECHOLS
an Ohio Corporation,                         )
                                             )      MAGISTRATE JUDGE
       Defendant.                            )      E. CLIFTON KNOWLES
                                             )
                                             )
                                             )
EATON CORPORATION,                           )
an Ohio Corporation,                         )
                                             )
       Counter-Plaintiff,                    )
                                             )
v.                                           )
                                             )
TRANSFORMATIONS, INC.,                       )
a Tennessee corporation,                     )
                                             )
       Counter-Defendant.                    )

     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE BY ALL PARTIES

       It is stipulated by plaintiff Transformations, Inc. and by defendant Eaton Aeroquip, Inc.,

erroneously sued as Eaton Corporation, who are all of the parties in this action and who are

appearing herein through their respective undersigned counsel of record, that this action has been

fully compromised and settled and therefore, pursuant to Rule 41(a)(1)(ii), F.R.Civ.P., by this

joint stipulation and above entitled and numbered action is hereby dismissed with prejudice as of

compromise, each party to bear its own costs.




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  Nashville, Tennessee, this 5th day of May, 2006.

                               Respectfully submitted,

                               MGLAW PLLC



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                               Kay, Griffin, Enkema & Brothers, PLLC



                               s/Matthew Brothers
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                               And

                               Robert E. Barkley, Jr. (LA Bar #2782)
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served via the electronic filing
system to Robert J. Mendes, Attorney for the Plaintiff, 120 30th Avenue North, Suite #1000,
Nashville, Tennessee 37203, on May 5, 2006.



                                           s/Matthew Brothers
                                           Matthew Brothers




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